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                The voice of the Des Moines Catholic Worker community

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Uncomfortable
By Jessica Reznicek                                                   already taken, and then get together, make a plan and take                   feeling that urgency, and we’re feeling it for a reason. What
                                                                      it back. I refuse to watch the earth and all of her inhabitants              we’ve been doing just isn’t shutting it down. We need to focus
    Uncomfortable. We’ve got to get uncomfortable.                    be crushed and destroyed. We must place our hands on the                     on dismantling this blood-sucking beast that is killing every-
    Discomfort births growth in human development. It                 sacred pulse of life and allow her rhythm to guide us to ac-                 thing we love and honor. We all need to stand up together
provides the insight and clarity necessary to become the              tion. When we do this Mother Earth tells us that death and                   and begin the dismantling process, one piece at a time. In
individuals we are meant to be. Overcoming challenges and             destruction is near and that the time to act is now.                         the spirit of love, compassion and nonviolence. Targeted and
fears gives us the strength to fight with love for justice. One
of the problems I see among U.S. citizens today is that we are
not too often forced into any situation of significant discom-
fort. Most of us can barely even bring ourselves to be human
... to sweat, to shiver, be hungry, to cry, or to even feel at all.
You name it, we seem to have mastered a way to avoid it.
    And so now here we are, suffocating inside this smolder-
ing garbage heap we’ve all helped build, going to barely any
length to clean it up, and to nearly any length pretend it’s not
happening.
    I began to really see the U.S. government for what it is, an
oppressive regime, when I was about 12 years old. I spent
most of my young adult years just angry, screaming at every
front-page newspaper article I read, but too oppressed by in-
stitutions to really act ... education, workforce, debt. Admit-
tedly, today I’m still screaming quite a bit, and while I believe
passionately spoken words can send a powerful message, I’ve
learned that actions truly do speak louder than words. The
empire isn’t listening anyway, and these bloodthirsty, lying,
greedy, fascist, violent oppressors are truly not going stop un-
til they have extracted, exploited and then killed every single
living thing on this planet. Unless we stop them.
     My fight for justice has been a slow and agonizing jour-
ney. Early on in life, I was called a liberal, and then a radical;
these days, if you ask the state of Israel, I’m a terrorist. Well,
call it what you want, my journey has simply been about
becoming more human. Learning how to be peaceful while
creating a life I where I can live in noncooperation with the
State I am working to dismantle.
    An essential piece of my process in becoming more human
is stepping mindfully out of my comfort zone. Because it is in
these moments that healing occurs, and each fear I overcome
leaves me a little less broken and a little more whole. Liber-
ated. Real. And from the first moment I felt something real, I
never wanted to know anything else. I realized that real isn’t
pretty. It’s usually bruised, bloody, broke, malnourished and         Jess praying on sidewalk outside the Iowa Utilities Board building during her Dec. 2016 fast against the Dakota Access pipeline.
tear-stained. No, it isn’t pretty ... it is beautiful.
                                                                         Property destruction, or as I prefer to call it, property                 disciplined action, not random and without reason.
                                                                      improvement, is the only solution I foresee. Everything else                    I’ve been feeling and acting increasingly from a spiritual
                                                                      we’ve tried just isn’t cutting it. Over the past several years I’ve          place of obligation to act, these days guided by faith alone. I
                                                                      attended hundreds of organizing meetings. I’ve petitioned,                   look to the Spirit for guidance and to Jesus as my role model.
                                                                      and written letters. I’ve barricaded roads, stood face to face               He was the one who overturned the moneychangers in the
                                                                      with police lines, military lines, and riot cop lines. I’ve faced            Temple. Why? Because he saw evil and refused to accept it.
                                                                      lines of live ammunition, rubber bullets, tear gas, pepper                   We all feel the evil around us, and it’s time to become a little
                                                                      spray. I’ve seen hundreds of innocent people shot during                     more like the guy who showed us how to handle it. Jesus
                                                                      peaceful protest. I’ve been detained in military prisons and                 cared, and when I read scripture I can feel his passion. I want
                                                                      deported from a country for planting olive trees in the West                 to also unleash that righteous rage and say NO! And if that
                                                                      Bank. I’ve fasted, done line-crossings, sit-ins, die-ins, and of             means I have to look the beast in the eye and tell him to step
                                                                      course, marched endlessly to ... where? ... for what? I’m not                aside, I’m ready. Oh, and Pontius Pilate, you’re fired, too.
                                                                      so certain anymore. These tactics, while still meaningful and                    Before I wrap up this article, I want to get real. People
                                                                      empowering in many ways, simply are not dismantling the                      are dying, and we’re signing the checks. Blood is pouring
                                                                      infrastructure in which evil institutions operate from.                      through streets all over the world. Children, women and men
                                                                         I sit in circle after circle of to activists beating their heads          all over the planet are dying. The Earth is dying. And the
                                                                      against walls trying to decide what tactics to implement to ef-              reality is that these things are happening, and will continue
                                                                      fectively “shut it down.” We are failing to recognize property               to happen because we are failing to do our job. I believe the
                                                                      improvement as a legitimate, necessary approach we all need                  days of marching past the infrastructure whose business
                                                                      to be moving toward if we all truly want to shut it down. To                 specializes in killing everything and everyone who stands
                                                                      shut it down most certainly is what we all want, but we all                  in its way of a dollar are over. It is time to dismantle the
                                                                      need to consider what an endeavor like this really demands.                  White House! And then on to our Statehouses and then to
                                                                      We struggle when we try to envision what the “shutting it                    the oil refineries, and then to Monsanto. Tear it all down and
                                                                      down” process will actually look like. Why? Because we’ve                    rebuild a world of beauty. Let’s work through our fears and
                                                                      never actually done it. And because it makes us feel uncom-                  discomfort and understand what we have been called here in
Jessica Reznicek breaking a window at Northrop Grumman in Bel-        fortable. But lately I’ve been trying to imagine ...                         this life to do is something real. Let’s shut it all down. With
levue, NE on Dec. 27, 2015.                                              Property improvement I believe without a doubt will shut                  love. With integrity. With a steady, peaceful hand the world
                                                                      this corrupt system down. It is action laden with risk, sacri-               can trust.
   Beauty and truth must be protected and restored. We must           fice, and great discomfort. It is the tradition of the Catholic                 It’s time for us all get a little more uncomfortable.
allow ourselves to grieve so much of that which they have             Worker movement, as well as in the spirit of Jesus. We are all
